                                                                                   Case 12-43127
                                                                     B6A (Official Form 6A) (12/07)
                                                                                                                  Doc 13           Filed 01/14/13 Entered 01/14/13 14:41:31                                                         Desc Main
                                                                                                                                     Document     Page 1 of 1
                                                                     IN RE Faber, Jeffrey Lloyd & Faber, Mary Jo                                                                             Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                      AMENDED SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     burial plots.                                                                                                              C                               1,000.00                     0.00
                                                                     Debtor's (1/4) interest 304 N. Main St. Paris, Texas. Co-owner's                                                           C                             38,930.00                      0.00
                                                                     of property are Debtor's Uncle, Ben Faber and Debtor's sister,
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                                                                     Sarah Faber. Said property is being condemned by the Paris
                                                                     Fire Dept. Said property also has two (2) gas tanks that need to
                                                                     be removed from the ground.
                                                                     Debtor's 1/6 interest in real property located in Brazoria                                                                 C                                 120.00                     0.00
                                                                     County, Texas. Debtor's 1/6 interest was Debtor's deceased
                                                                     father's interest in said property.
                                                                     Debtor's interest in mineral rights in Madison County, Texas.                                                              C                              unknown                       0.00
                                                                     Debtor's interest is 0.011397 interest in said mineral rights.
                                                                     Home and Property located in Paris, TX described as follows:                              JTWROS                           C                            125,000.00               123,952.84

                                                                     Lot Ten (10) in Block "B" of the Eastfield Estates Addition,
                                                                     Phase One, to the City of Paris, Lamar County, Texas.




                                                                                                                                                                                      TOTAL                                  165,050.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
